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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW and
      2. KIMBERLEY ANN TEW,
         a/ka Kimberley Vertanen,

        Defendants.


              GOVERNMENT=S MOTION TO RESTRICT EXHIBITS


        The United States of America, by and through Cole Finegan, United States

 Attorney for the District of Colorado, and Bryan D. Fields and Sarah H. Weiss,

 Assistant United States Attorneys, respectfully moves to restrict the document filed

 at ECF No. 394, any order revealing the contents of that document, and the brief filed

 in support of this motion filed at ECF No. 395, for the reasons stated in the brief filed

 in support of this motion.

        The   United    States   requests   a    “Level   2”   restriction.   Pursuant   to

 D.C.COLO.LCrR 47.1(b), “Level 2” restriction would make the document, any order

 revealing the contents of that document, and the brief filed in support of this motion

 accessible to the government, the affected defendant, and the Court.



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                                         Respectfully submitted,

                                         COLE FINEGAN
                                         United States Attorney

  By: /s/ Bryan Fields                         By: /s/ Sarah H. Weiss
  Bryan Fields                                 Sarah H. Weiss
  Assistant United States Attorney             Assistant United States Attorney
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  Attorney for the Government                  Attorney for the Government



 Certification of Type-Volume Limitation

        I hereby certify that the foregoing pleading complies with the type-volume
 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).

                                                       /s Sarah H. Weiss
                                                       Sarah H. Weiss

 Statement of Speedy Trial Impact

        Pursuant to Judge Domenico’s Practice Standard III(C), the government notes
 that this motion will not affect the speedy trial clock in this case its granting would
 necessarily involve the court making the necessary findings of fact to exclude time
 and denial will keep the case on track to be tried on February 5, 2024, within the
 calculated speedy trial deadline.




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                            CERTIFICATE OF SERVICE


        I hereby certify that on January 26th, 2024, I electronically filed the foregoing
 with the Clerk of the Court using the CM/ECF system which will send notification of
 such filing to any and all counsel of record.


                                         s/ Sarah H. Weiss
                                         United States Attorney’s Office
                                         Assistant U.S. Attorney




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